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                                  STATEMENT OF FACTS

       1.      On Wednesday April 29, 2020, members of the Federal Bureau of Investigation

(FBI) Washington Field Office (WFO) and Metropolitan Police of the District of Columbia

(MPDC) Child Exploitation and Human Trafficking Task Force (CEHTTF) received information

from an FBI agent assigned to the Baltimore Field Office (BFO) in Maryland. The agent

informed your affiant that an individual (hereinafter “Witness #1”) contacted the Prince George’s

County Police Department to report information related to the sexual abuse of a nine-year-old

child (hereinafter “Minor Victim #1”). The members responded to a Prince George’s County

Police Department (PGCPD) Station and interviewed Witness #1.

       2.      Witness #1 stated that a relative of his (hereinafter “Witness #2”) had been

involved in a romantic relationship with an adult female (hereinafter “DEFENDANT #1”) for the

last month. Witness #1 reported that Witness #2 met DEFENDANT #1 via the internet. Witness

#1 stated that Witness #2 informed him that DEFENDANT #1 sent him sexually explicit images

depicting Minor Victim #1.

       3.      Witness #2 was interviewed by members of the CEHTTF during the course of this

investigation. Witness #2 advised that DEFENDANT #1 had spoken to him about the sexual

abuse of Minor Victim #1, and reported that other individuals had also sexually abused the child.

       4.      Through further investigation by law enforcement, a search warrant (20-SW-115)

was obtained from the United States District Court (USDC) for the District of Columbia,

authorizing the search of DEFENDANT #1’s residence. The USDC search warrant was

executed during the early morning hours of April 30, 2020, and Minor Victim #1 was recovered

safely from the residence. DEFENDANT #1 was also inside the residence, and she was arrested.
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Electronic devices were recovered from the residence, including DEFENDANT #1’s cellular

phone.

         5.    DEFENDANT #1’s cellular device was turned over to a United States Attorney

Office (USAO) Digital Forensic Examiner on April 30, 2020. The USAO Digital Forensic

Examiner conducted a forensic extraction of the device. Your Affiant reviewed the contents of

DEFENDANT #1’s device and located numerous videos and images depicting the sexual abuse

of children. Your Affiant found that the videos and images had also been uploaded to a Dropbox

account belonging to DEFENDANT #1.

         6.    Your Affiant located a series of three videos during the review of DEFENDANT

#1’s Dropbox account. Your Affiant reviewed the files and found that these three videos

depicted the sexual abuse of Minor Victim #1 by DEFENDANT #1 and an African-American

male. The adult man can be seen placing his mouth on Minor Victim #1’s genitals, and rubbing

his penis against Minor Victim #1’s bare buttocks and genitals. The man never faces the camera,

but the side of his face and his bare upper back are visible in the videos. He has a distinctive

dark colored mark on his back, and the shape of the mark resembles a heart. Based upon your

Affiant’s familiarity with the details of this ongoing investigation, and the fact that your Affiant

was present inside DEFENDANT #1’s residence in the District of Columbia during the

execution of the search warrant, your Affiant recognized that these videos were filmed inside

DEFENDANT #1’s home.

         7.    The videos were labeled by Dropbox to include the time and date of when the

videos were uploaded to Dropbox. The date was identified by Dropbox as June 24, 2018. A

description of these videos follows:
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            a. VID_20180624_215654: This video displays the adult African-American man,

               with the distinctive mark on his upper back, rubbing his erect penis against Minor

               Victim #1’s bare vulva and anus.

            b. VID_20180624_220435: This video displays the same adult man. A sex toy can

               be seen penetrating the man’s anus. The camera then pans forward, and the man

               can be seen putting his mouth on Minor Victim #1’s vulva and anus.

            c. VID_20180624_220943: This video shows the same man penetrating Minor

               Victim #1’s vulva with his tongue and putting his mouth on the child’s anus.

               DEFENDANT #1 can be heard in the background directing the man on what he

               should do to the child.

       8.      On July 22, 2020, DEFENDANT #1 was interviewed by CEHTTF, with her

attorney present. During this interview, DEFENDANT #1 was shown a redacted image of the

adult man that is featured in the videos described above. DEFENDANT #1 reported that she

knows the man as “Slave.” DEFENDANT #1 stated that his contact information is stored in her

cellular telephone, which has remained in law enforcement custody since the date of her arrest,

under a name that includes the word “Slave.” DEFENDANT #1 also reported that “Slave”

resides in Prince Georges County, Maryland, which she described as being close to her

Washington D.C. residence. She also stated that he reported that he used to live with his parents

until their house burned down. DEFENDANT #1 reported that “Slave” drives an older Honda.

DEFENDANT #1 also stated that she believed his real name starts with the letter “S.”

       9.      Based upon this initial interview with DEFENDANT #1, your affiant conducted a

search of the forensic image of DEFENDANT #1’s cellular phone, and located several phone

contacts involving the word “Slave.” A list of these contacts were shown to DEFENDANT #1
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by her legal counsel, and DEFENDANT #1 identified the phone contact “SLUT – AFF Slave” as

belonging to the man shown to her in the redacted image. The telephone number

was listed as part of this contact. DEFENDANT #1 stated that she met “Slave” on Adult Friend

Finder (AFF) which was why he was labeled his contact information “SLUT – AFF Slave.”

       10.     Members of CEHTTF issued administrative subpoenas in an attempt to identify

the subscriber information for phone number                   . This phone number was registered

to a Google Voice user of “Peachtown83” with the email address                                 .”

The account has been active since February 1, 2020. Two IP addresses, which were later

identified as belonging to Cox Communications, were administratively subpoenaed by a member

of CEHTTF. The IP addresses resolved back to residences in the Washington, D.C. area and

Cox Communication identified the subscribers for these IP addresses. A search of a law

enforcement only database was conducted, using the names of these subscribers, and driver’s

license photographs were located for both individuals. Your Affiant compared the driver’s

license photographs to the African American man depicted in the above-mentioned videos, and

neither individual listed as the subscribers for the relevant IP addresses appeared to be the man

seen sexually abusing Minor Victim #1 in the videos described above.

       11.     Your Affiant conducted a review of various messages contained on

DEFENDANT #1’s phone, in an effort to figure out which individuals were communicating with

DEFENDANT #1 near the date that the videos depicting the sexual abuse of Minor Victim #1

were created. Your Affiant located a KIK message exchange between DEFENDANT #1 and a

KIK user named “SAXMOSES24 – pg county” that occurred between August 1, 2018 and April

26, 2020.
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          12.      Your Affiant reviewed the messages and found that the users discussed sexual

acts that the two engaged in, and discussed the fact that SAXMOSES24 was a “submissive”

partner. In one portion of the messages, DEFENDANT #1 asked SAXMOSES24 if he would be

a “sub” while she is on vacation. Your Affiant then located the following exchange of messages:

                SAXMOSES24: But I really am sorry mommy but you saw how devoted to you I
                            was. I loved talking to you and coming to see you. I love how
                            nasty you are and I miss you
                DEFENDANT #1: Yeah ok
                SAXMOSES24:     No
                 DEFENDANT #1: You should be able to find a high schooler in ur neighborhood…I
                                need to help Mommy pull together a down payment for a newer
                                car. Mommy’s car is dying
                SAXMOSES24: Okay mommy…You want me to suck his dick right?...And of course
                            I’ll help.

          13.      DEFENDANT #1 and the KIK user SAXMOSES24 continued to discuss

engaging in sexual acts with each other, and attempted to schedule a time for the KIK user

SAXMOSES24 to visit DEFENDANT #1. The KIK user SAXMOSES24 eventually asked

DEFENDANT #1 for a picture, and DEFENDANT #1 sent him a media file that was deleted

from the KIK messages. The following messages were exchanged after the deleted file was sent,

           SAXMOSES24: I wanna fill her up with my dick so bad
           DEFENDANT #1: U must be awesome to mommy in order to get a moment with her
                          again
           SAXMOSES24: Okay mommy…Good night.

          14.      Members of CEHTTF issued an administrative subpoena to KIK for subscriber

and IP address information for the KIK user “SAXMOSES24 – pg county.” The records

provided by KIK identify the user’s first and last name as “pg county” and provided the email

address                           . The account was registered on December 9, 2013, and the

records show that the account was recently accessed by an Apple iPhone. Additionally, the
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account was accessed from the T-Mobile IP address 172.58.16.234 1 on August 13, 2020 at

15:29:51 UTC.

          15.   A member of CEHTTF conducted an open source search of online user names

that include SAXMOSES24. The member identified a Yahoo email address

                          . The member then searched for accounts associated with the email

address                           , and identified a Facebook account (Shawn.Moses.14) and a

Twitter account (SAXMOSES24) publicly linked to the Yahoo address.

          16.   An administrative subpoena was issued to Oath Holdings (the parent company of

Yahoo) for subscriber information and IP addresses used to log into the email account

                          . Records provided by Oath Holdings listed the user’s name as Shawn

Moses, with the zip code 20747.2 The account has been active since August 17, 2008. The

account has a phone number of (                 , a T-Mobile number, linked to it and the backup

email address

          17.   An administrative subpoena was issued to Facebook for subscriber information

and IP addresses for the Facebook account Shawn.Moses.14. Records provided by Facebook

indicate that the user’s name is Shawn Moses, and that the account was registered on June 2,

2010. The user provided the email address                             and the phone number

(                when registering this account. There were no IP records associated with this

account.

          18.   A member of CEHTTF conducted a search of open source and law enforcement

only databases to identify the user of the email address                         . The member



1
 T-Mobile does not maintain records of who uses T-Mobile registered IPV4 addresses.
2
 Zip Code 20747 is located within Prince Georges County, Maryland and includes the cities of
Forestville, District Heights, and parts of Suitland.
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subsequently identified the user as Shawn Cortez Moses (hereafter “MOSES”) of

          in Suitland, Maryland 20746. This address, located in PG County, is approximately

seven to ten minutes away from DEFENDANT #1’s residence via automobile.

       19.      MOSES was determined to be associated with several vehicles, including a 2002

white Honda Accord with Maryland license plate number of 5CC1272. Law enforcement

records show that MOSES was stopped for a traffic violation while operating the 2002 Honda

Accord, by the Laurel Police Department, on October 24, 2016. This vehicle is registered to

Sherry Cortez Moses of                         in Suitland, Maryland 20746.

       20.     Booking photos from an arrest of MOSES for “Soliciting Prostitution” at the

intersection of 59th and Eastern Avenue Northeast in Washington, D.C., on August 16, 2014,

were located by your Affiant. The booking photos provide a profile view of the sides of

MOSES’s head. Your Affiant was able to see that MOSES has a similar hair style, hair pattern,

sideburns, facial hair, and protruding eye sockets as the man depicted in the videos described

above. Additionally, MOSES’s ears – as shown in the booking photos- appear to be extremely

similar to the man’s ears shown in the videos depicting the abuse of Minor Victim #1.

Furthermore, your Affiant noted that the booking photos of MOSES resemble the user’s

photographs displayed on the Facebook and Twitter accounts associated with



       21.     A member of CEHTTF issued an administrative subpoena to T-Mobile for

subscriber information and call detail records (CDR) for the phone number of

According to records provided by T-Mobile,                    is registered to Shawn Moses of

                       in Suitland, Maryland 20746. The phone number                      has

been registered to MOSES since September 30, 2017.
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       22.     Your affiant reviewed the CDR data provided by T-Mobile and found that

MOSES’S phone number                      ) contacted a phone number belonging to

DEFENDANT #1 twenty-eight times between October 30, 2019 and February 27, 2020.

       23.     On February 12, 2021, members of CEHTTF interviewed Defendant #1, with her

attorney present, in order to obtain additional information regarding her relationship with MOSES.

During this interview, Defendant #1 stated that she met MOSES, who she referred to as “Slave”

in either 2017 or 2018. She stated that she met him online, and that she first met him in person

about six months later, when he came to her home. During this interview, DEFENDANT #1

admitted that MOSES spent time with Minor Victim #1 on two separate occasions, and that he

sexually abused the child on one of those occasions. DEFENDANT #1 stated that MOSES came

to her home in Washington, D.C., and that he played with Minor Victim #1. While the child was

sleeping, DEFENDANT #1 and MOSES began to engage in sexual activity. DEFENDANT #1

stated that she used a sex toy to penetrate MOSES’s anus. She also stated that, while she was

doing so, MOSES placed his face between Minor Victim #1’s legs, near her vagina and her anus.

       24.     DEFENDANT #1 stated that she used her cellular telephone or tablet to video

record MOSES’s sexual abuse of Minor Victim #1. DEFENDANT #1 stated that MOSES knew

that DEFENDANT #1 was video recording the sexually explicit conduct that he was engaging in

with Minor Victim #1. DEFENDANT #1 informed law enforcement that it was a regular part of

their sexual relationship for DEFENDANT #1 to video record their sexual activity. DEFENDANT

#1 indicated that this instance occurred a few years ago. As stated above, your affiant reviewed

three videos created by DEFENDANT #1, and uploaded to her Dropbox Account on June 24,

2018, which depict an African-American man and DEFENDANT #1 sexually abusing Minor

Victim #1 inside DEFENDANT #1’s residence. The conduct depicted in the video is similar to
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the sexual activity DEFENDANT #1 described during her interview with law enforcement on

February 12, 2021.

       25.    DEFENDANT #1 could not remember if she sent a copy of the videos to MOSES,

or if he had any distinctive scars, marks, or tattoos. DEFENDANT #1 was shown a single color

photograph of MOSES, and asked if she recognized the individual. In response, DEFENDANT

#1 identified the individual depicted in the image as MOSES, stating, “That’s S….That’s Slave.”

MOSES is an adult male who is more than four years older than Minor Victim #1.

       26.    On February 25, 2021, law enforcement obtained a warrant from the United States

District Court in Maryland, authorizing the search of MOSES’s residence and his person. On

March 3, 2021, members of the CEHTTF arrived at MOSES’s residence to execute the search

warrant. MOSES was located inside the residence, wearing a sleeveless, tank-top style shirt.

Members of the CEHTTF were able to confirm that MOSES has the distinctive heart-shaped

birthmark on his back, which is visible in the above-mentioned videos depicting the sexual abuse

of Minor Victim #1. MOSES was read his Miranda warnings, which he agreed to waive and speak

with law enforcement. During the interview, MOSES admitted that he knows DEFENDANT #1,

and that he had been involved in a sexual relationship with her. He stated that, on one occasion,

he was inside DEFENDANT #1’s home in Washington, D.C. with DEFENDANT #1 and Minor

Victim #1. MOSES informed law enforcement that when the child fell asleep, he carried her to the

bedroom. MOSES admitted that he engaged in sex acts with DEFENDANT #1 and that he

engaged in the sexually explicit conduct with Minor Victim #1, which is depicted in the videos

that are described fully above. MOSES stated that he engaged in the sexually explicit conduct

with Minor Victim #1 at DEFENDANT #1’s direction. He admitted that he knew that the sexual

activity that he was engaging in with DEFENDANT #1 and Minor Victim #1 was being recorded,
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and stated that he had seen some of the videos. MOSES said that he did not remember if

DEFEENDANT #1 had ever sent him any of the videos depicting the sexual abuse of Minor Victim

#1.

                                    Conclusion

         Based on the above information, there is probable cause to believe that Shawn Moses

committed the following offenses: Sexual Exploitation of Children, in violation of 18 U.S.C. §§

2251(a) and (e) and 18 U.S.C. §2(a), on or about and between June 1, 2017 and June 24, 2018;

and First Degree Child Sexual Abuse with Aggravating Circumstances, in violation of D.C. Code

§§ 22-3008, 3020(a)(1), 3020(a)(4), on or about and between June 1, 2017 and June 24, 2018.



                                            Respectfully submitted,




                                            Thomas Sullivan
                                            Detective
                                            MPDC



Subscribed and sworn to before me by telephone, this 3rd day of March, 2021.

                                                                      2021.03.03
                                                                      12:46:32 -05'00'
                                            _________________________________________
                                            ROBIN M. MERIWEATHER,
                                            UNITED STATES MAGISTRATE JUDGE
